Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 1 of 55




             EXHIBIT A-1
       Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 2 of 55

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    04/19/2022
                                                                                                    CT Log Number 541437340
TO:         Lauren Groblewski
            Abbott Laboratories
            100 ABBOTT PARK RD
            NORTH CHICAGO, IL 60064-3502

RE:         Process Served in Illinois

FOR:        Abbott Laboratories Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: JANEE HENDERSON, on her own behalf and as Parent and Natural Guardian of
                                                  S.C. a Minor // To: Abbott Laboratories Inc.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 220400127
NATURE OF ACTION:                                 Asbestos Litigation - Fatal Injury/Wrongful Death
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:                         By Certified Mail on 04/19/2022 postmarked on 04/08/2022
JURISDICTION SERVED :                             Illinois
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 04/20/2022, Expected Purge Date:
                                                  04/25/2022

                                                  Image SOP

                                                  Email Notification, Lauren Groblewski lauren.lucy@abbott.com

                                                  Email Notification, Jennifer Curtis jennifer.curtis@abbott.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  208 South LaSalle Street
                                                  Suite 814
                                                  Chicago, IL 60604
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 3 of 55



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                     Anapol Weiss
                     Tracy Finlcen, Esquire
                   ' One Logan Square
                                                1600
                     130 N. 18th. Street, Suite
                     Philadelphia, PA 19103




                                                                 Abbott Laboratories
                                                                 CT Corporation System
                                                                                                814
                                                                 2089 So. Lasalle Street, Suite
                                                                 Chicago, IL 60604
                 Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 4 of 55


                                  ANAPOLWEISS
Tracy A. Finken, Esquire
One Logan Square
130 N. 18th Street, Suite 1600
Philadelphia PA 19103
tfinken@anapolweiss.com

(215)735-0773 Direct Dial
(215)875-7731 Direct Fax


                                                                 April 8, 2022

        Abbott Laboratories
        CT Corporation System
        2089 So. Lasalle Street, Suite 814
        Chicago, IL 60604

                Re:       Service of Summons and Complaints

       Dear Sir/Madam:

              Enclosed please find a true and correct copy of the following Plaintiffs' Summons and
       Complaints, the originals of which were filed of record in the Philadelphia Court of Common Pleas
       on April 4, 2022, relative to the above-captioned matter:

           1. Ivyann Witherspoon, et al. v. Mead Johnson Company, et al., Civil Action No. 220400138;
           2. Melvenia Williams, et al. v. Mead Johnson Company, et al., Civil Action No. 220400141;
           3. Robert Whitfield, et al. v. Mead Johnson Company, et al., Civil Action No. 220400145;
           4. Trina Walker-Savage, et al. v. Mead Johnson Company, et al., Civil Action No. 200400156;
           5. Natisha Thomas, et al. v. Mead Johnson Company, et al., Civil Action No. 220400158;
           6. Samaya Short, et al. v. Mead Johnson Company, et al., Civil Action No. 220400159;
           7. Loren Sanders, et al. v. Mead Johnson Company, et al., Civil Action No.220400153;
           8. Dameka Moment, et al. v. Mead Johnson Company, et al., Civil Action No. 220400142;
           9. Catherine McMillian, et al. v. Mead Johnson Company, et al., Civil Action No. 220400140;
           10. Shemika Johnson, et al. v. Mead Johnson Company, et al., Civil Action No. 220400162;
           1 1. Delquan Hines, et al. v. Mead Johnson Company, et al., Civil Action No. 220400136;
           12. Janee Henderson, et al. v. Mead Johnson Company, et al., Civil Action No. 220400127

             Plaintiff shall deem this case served upon your receipt of the enclosed Summons and
       Complaints. Please respond to the enclosed pursuant to the allotted time required under
       Pennsylvania law.




                                One Logan Square, 130 North 18th Street, Suite 1600, Philadelphia, PA 19103
         I 8700 East Vista Bonita Dr., Suite 26R, Scottsdale, A7 R5255 I 1040 Kings Highway North, Suite 304, Cherry Hill, NJ 08034
                                               toll free: 866.735.2792 I www.anapolweiss.com
                                                                  -OP
         Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 5 of 55

April 8, 2022
Page 2                   ANAPOLWEISS
                                                         Very truly yours,



                                                         TRACY A. FINKEN

TAF/nsg
Enclosures
Via Certified Mail/Return Receipt Requested: 7020 1810 0002 1257 5425




                        One Logan Square, 130 North 18th Street, Suite 1600, Philadelphia, PA 19103
 I 8700 East Vista Bonita Dr., Suite 268, Scottsdale, AZ 85255 I 1040 Kings Highway North, Suite 304, Cherry Hill, NJ 08034
                                       toll free: 866.735.2792 I www.anapolweiss.com
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                      Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 6 of 55
           Court 01 Common Pleas of Philadelphia County                                                                                   ,Ohly(Dock,,I rlb,ri-tb6i.i
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                         Trial Division .

                      Civil Cover Sheet                                                  7 F g:Nyintier.
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                                                                                                                                                                00127
  PLAINTIFFS NAME                                                                       DEFENDANTS NAME
   JANEE HENDERSON                                                                         MEAD JOHNSON & COMPANY, LLC


  PLAINTIFFS ADDRESS                                                                    DEFENDANTS ADDRESS
   1825 68TH AVENUE                                                                        ILLINOIS CORPORATION SERVICE C 801 ADLAI
   PHILADELPHIA PA 19126                                                                   STEVENSON DRIVE
                                                                                           SPRINGFIELD IL 62703

  PLAINTIFFS NAME                                                                       DEFENDANTS NAME
   S   C                                                                                   MEAD JOHNSON NUTRITION COMPANY


  PLAINTIFFS ADDRESS                                                                    DEFENDANTS ADDRESS
    1825 68TH AVENUE                                                                       ILLINOIS CORPORATION SERVICE C 801 ADLAI
  , PHILADELPHIA PA 19126                                                                  STEVENSON DRIVE
                                                                                           SPRINGFIELD IL 62703

  PLAINTIFF'S NAME      •                                                               DEFENDANTS NAME
                                                                                           ABBOTT LABORATORIES


  PLAINTIFF'S ADDRESS                                                                   DEFENDANTS ADDRESS
                                                                                           CT CORPORATION SYSTEM                           208 SO. LASALLE ST.,
                                                                                           SUITE 814
                                                                                           CHICAGO IL 60604

  TOTAL NUMBER OF PLAINTIFFS          TOTAL NUMBER OF DEFENDANTS                COMMENCEMENT OF ACTION
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                                                                            s    ri   eofPrst faint           .Petition          Action                   IN Notice of Appeal
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                                                                                                  '''.             11 Transfer From Other Jurisdictions
              1                                           \                 '&.:.18::;.. E*-
                                                                                          '  4,4        I.
  AMOUNT IN CONTROVERSY          COURT PROGRAMS

                               .Arbitration                ;       '   (Reai-s /Tcirt                      ..          Commerce                          II Settlement
   M $50,000.00 or less                                                ? s;,e. ,
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'
I More than $50,000.00           IN Non-Jury                            giTil'O2n,5 ( '-' _                       •4Statiatory Appeals                    M W/D/Survival
                                 M Other:              ,                                                            •      '''
                                                                                                                                                         _       ----------....'
  CASE TYPE AND CODE                                ..         •                                              i

    2P — PRODUCT LIABILITY
                                                               t
                                                                                ,
  STATUTORY BASIS FOR CAUSE OF ACTION




  RELATED PENDING CASES(LIST BY CASE CAPTION AND DOCKET NUMBER)                                                                           IS CASE SUBJECT TO
                                                                                         KED
                                                                                                                                          COORDINATION ORDER?
                                                                                PROPRO1HY                                                             YES    •          NO


                                                                            APR 04 2022
                                                                                R. SCHREIBER

  TO THE PROTHONOTARY:
  Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: jANEE HENDERSON , S C
  Papers may be served at the address set forth below.                 (

  NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANTS ATTORNEY                                  ADDRESS

    TRACY A. FINKEN                                                                      ONE LOGAN SQUARE
                                                                                         130 N. 18TH ST.,
  PHONE NUMBER                            FAX NUMBER                                     SUITE        1600
   (215)735-0773                          (215)875-7731                                  PHILADELPHIA PA 1 9103

  SUPREME COURT IDENTIFICATION NO.                                                      E-MAIL ADDRESS

   82258                                                                                 tfinken@anapolweiss.com

  SIGNATURE OF FILING ATTORNEY OR PARTY                                                 DATE SUBMITTED

    TRACY FINKEN                                                                          Monday, April 04, 2022, 10:46 am

                                                   FINAL COPY (Approved by the Prothonotary Clerk)
         Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 7 of 55


COMPLETE LIST OF DEFENDANTS:
    1. MEAD JOHNSON & COMPANY, LLC
         ILLINOIS CORPORATION SERVICE C 801 ADLAI STEVENSON DRIVE
         SPRINGFIELD IL 62703
    2. MEAD JOHNSON NUTRITION COMPANY
         ILLINOIS CORPORATION SERVICE C 801 ADLAI STEVENSON DRIVE
         SPRINGFIELD IL 62703
    3. ABBOTT LABORATORIES
         CT CORPORATION SYSTEM 208 SO. LASALLE ST., SUITE 814
         CHICAGO IL 60604
    4. THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
         ALIAS: THE HOSPITAL OF THE UNIVERSITY OF PENNSYLVANIA
         3451 WALNUT STREET 0 ROOM 329
         PHILADELPHIA PA 19104
    5. THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
         ALIAS: PENN MEDICINE
         133 SOUTH 36TH STREET
         PHILADELPHIA PA 19104
      Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 8 of 55




 ANAPOL WEISS                                                Filed 1,;a3t1
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 BY: TRACY FINICEN,ESQUIRE                                              I
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 Identification Number:82258
 One Logan Square
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 130 N. 18th Street, Suite 1600                                                    70,i
Philadelphia, PA 19103
(215)735-0773
 Email: tfinken@anapolweiss.com                       ATTORNEY FOR PLAINTIFFS

Keller Lenkner LLC
BY: Ashley Keller (pro hac vice forthcoming)
150 N.Riverside Plaza, Suite 4100
Chicago, Illinois 60606
Telephone:(312) 741-5220
Fax:(312)971-3502
Email: ack@kellerlenkner.com                          ATTORNEY FOR PLAINTIFFS

Walsh Law PLLC
BY: Alex Walsh (pro hac vice forthcoming)
1050 Connecticut Ave, NW,Suite 500
Washington, D.C. 20036
Telephone:(202) 780-4127
Fax:(202) 780-3678
Email: awalsh@alexwalshlaw.com                       ATTORNEY FOR PLAINTIFFS

JANEE HENDERSON,on her own behalf                    COURT OF COMMON PLEAS
and as Parent and Natural Guardian of S.C.           PHILADELPHIA COUNTY
a Minor
1825 68'h Avenue
Philadelphia, PA 19126                               CIVIL ACTION
                    Plaintiffs
       V.


MEAD JOHNSON & COMPANY,LLC                           NO.
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield,IL 62703


MEAD JOHNSON NUTRITION COMPANY                   :
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield,IL 62703


ABBOTT LABORATORIES
CT Corporation System
208 So. Lasalle Street, Suite 814
Chicago, IL 60604



                                             1
                                                                                 Case ID: 220400127
       Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 9 of 55




THE TRUSTEES OF THE UNIVERSITY OF :
PENNSYLVANIA d/b/a THE HOSPITAL
OF THE UNIVERSITY OF PENNSYLVANIA :
3451 Walnut Street — Room 329
Philadelphia, PA 19104


THE TRUSTEES OF THE UNIVERSITY
OF PENNSYLVANIA d/b/a PENN MEDICINE :
133 South 36th Street
Philadelphia, PA 19104

                                Defendants                JURY TRIAL DEMANDED
                                      COMPLAINT IN CIVIL ACTION
                                                     NOTICE TO DEFEND

                                NOTICE                                                                       AVISO
  You have been sued in court. If you wish to defend against the           Le han demandado a usted en la corte. Si usted quiere defenderse de
claims set forth in the following pages, you must take action within       estas demandas expuestas las paginas siguientes, usted tiene viente(20)
twenty (20) days after this complaint and notice are served, by entering   dias de plazo al partir de la fecha de la demanda y la notificacion. Hace
a written appearance personally or by attorney and filing in writing       falta asentar una comparencia escrita o en persona o con un abogado y
with the court your defenses or objections to the claims set forth         entregar a la corte en forma escrita sus defensas o sus objeciones a las
against you by the court without further notice for any money claimed      demandas en contra de su persona. Sea avisado que si usted no se
in the complaint or for any other claim or relief requested by the         defiende, la corte tomara medidas y puede continuar la demanda en
plaintiff. You may lose money or property or other rights important to     contra suya sin previo aviso o notificacion. Ademas, la corte puede
you.                                                                       decidir a favor del demandante y requiere que usted cumpla con todas
                                                                           las provisiones de esta demanda. Usted puese perder dinero o sus
YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                               propiedades u ostros derechos importantes para usted.
ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT
AFFORD ONE,GO TO OR TELEPHONE THE OFFICE SET                               LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE.
FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL                            SI NO TIENE ABOGADO 0 SI NO TIENE EL DINERO
HELP.                                                                      SUFICIENTE DE PAGAR TM.SERVICO, VAYA EN PERSONA 0
                                                                           LLAME POR TELEPHONO A LA OFICINA CUYA DIRECCION SE
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           PHILADELPHIA BAR ASSOCIATION                                    PUEDE CONSEGUIR ASISTENCIA LEGAL.
      LAWYER REFERRAL AND INFORMATION SERVICE
                ONE READING CENTER                                                 ASOCIACION DE LICENCIADOS DE FILADELFIA
               PHILADELPHIA, PA 19107                                                 Servicio De Referencia E Informacion Legal
             TELEPHONE:(215) 238-1701                                                            One Reading Center
                                                                                            Filadelfia, Pennsylvania 19107
                                                                                              Telephono:(215)238-1701




                                                                      2
                                                                                                                              Case ID: 220400127
     Case 2:22-cv-01721-KSM Document 1-1 Filed 05/04/22 Page 10 of 55




 ANAPOL WEISS
 BY: TRACY FINKEN,ESQUIRE
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PHILADELPHIA,PA 19103
(215)735-0773
 EMAIL: TFINKEN ANAPOLWEISS.COM                 ATTORNEY FOR PLAINTIFFS

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150 N.RIVERSIDE PLAZA,SUITE 4100
CHICAGO,ILLINOIS 60606
TELEPHONE:(312)741-5220
FAX:(312)971-3502
EMAIL: ACK@KELLERLENKNER.COM                   ATTORNEY FOR PLAINTIFFS

WALSH LAW PLLC
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1050 CONNECTICUT AVE,NW,SUITE 500
WASHINGTON,D.C. 20036
TELEPHONE:(202)780-4127
FAX:(202)780-3678
EMAIL: AWALSH@ALEXWALSHLAW.COM                 ATTORNEY FOR PLAINTIFFS

JANEE HENDERSON,ON HER OWN                     COURT OF COMMON PLEAS
BEHALF AND AS PARENT AND NATURAL               PHILADELPHIA COUNTY
GUARDIAN OF S.C., A MINOR
1825 68TH AVENUE
PHILADELPHIA,PA 19126
                    PLAINTIFFS
                                               CIVIL ACTION
V.

MEAD JOHNSON & COMPANY,LLC
ILLINOIS CORPORATION SERVICE CO.               NO.
801 ADLAI STEVENSON DRIVE
SPRINGFIELD,IL 62703


MEAD JOHNSON NUTRITION COMPANY
ILLINOIS CORPORATION SERVICE CO.
801 ADLAI STEVENSON DRIVE
SPRINGFIELD,IL 62703


ABBOTT LABORATORIES
CT CORPORATION SYSTEM
208 SO.LASALLE STREET,SUITE 814
CHICAGO,IL 60604




                                     3
                                                                  Case ID: 220400127
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 THE TRUSTEES OF THE UNIVERSITY OF
 PENNSYLVANIA D/B/A THE HOSPITAL OF
 THE UNIVERSITY OF PENNSYLVANIA
 3451 WALNUT STREET -Room 329
 PHILADELPHIA,PA 19104



THE TRUSTEES OF THE UNIVERSITY OF                    :
PENNSYLVANIA D/B/A PENN MEDICINE                     :
133 SOUTH 36TH STREET
PHILADELPHIA,PA 19104

                       DEFENDANTS                            JURY TRIAL DEMANDED

                                          COMPLAINT

        Plaintiff brings this Complaint and Demand for Jury Trial(the "Complaint") against Mead

 Johnson & Company, LLC, Mead Johnson Nutrition Company, and Abbott Laboratories

(collectively "the Defendant Manufacturers"), and The Trustees of the University ofPennsylvania

 cl/b/a Penn Medicine and The Trustees of the University ofPennsylvania d/b/a The Hospital ofthe

University of Pennsylvania (collectively "Penn Medicine" or "HUP"), together "Defendants."

Plaintiff alleges the following upon personal knowledge as to Plaintiff's own acts and experiences

 and upon information and belief, including investigation conducted by Plaintiff's attorneys, as to

all other matters.

                                   I.      INTRODUCTION

 1.     This action arises out of the injuries suffered by a premature infant (the "Injured Infant")

who were given the Defendant Manufacturers' cow's milk-based infant feeding products at the

Hospital of the University ofPennsylvania("HUP"). HUP,managed by Penn Medicine, acquired

and supplied the Defendant Manufacturers' products to the Injured Infant and negligently failed to

warn of their unreasonably dangerous properties in a reasonable manner. This caused the Injured

Infant to develop necrotizing enterocolitis ("NEC"), a life-altering and potentially deadly disease

that largely affects premature babies who are given cow's milk-based feeding products. As a



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result, the Injured Infant was seriously injured, resulting in long term health effects and

accompanying harm to their parents ("the Plaintiff Parent").

2.      Plaintiff brings these causes of action against Defendants to recover for injuries that are the

direct and proximate result of the Injured Infant's consumption of the Defendant Manufacturers'

unreasonably dangerous cow's milk-based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant by HUP, owned and operated by Penn

Medicine.

                                         II.     PARTIES

3.      Plaintiff Janee Henderson is a natural adult person and a resident of Pennsylvania. Ms.

Henderson is the parent and natural guardian of S.C., a minor. Ms. Henderson's address is 1825

68th Avenue, Philadelphia, Pennsylvania, 19126.

4.      Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws

of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC,is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead

Johnson Nutrition Company and Mead Johnson & Company, LLC, (together, "Mead") are

manufacturers of cow's milk-based infant feeding products and market many ofthese products

under the "Enfamil" brand name.

5.      Defendant Abbott Laboratories("Abbott")is a corporation, incorporated under the laws of

the State ofIllinois. Its principal place of business is in Illinois. Abbott is a manufacturer of cow's

milk-based infant feeding products and markets many of its products under the "Similac" brand

name.




                                                  5
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6.      Defendant The Trustees of the University of Pennsylvania d/b/a The Hospital of the

University of Pennsylvania is a non-profit corporation registered to do business in the

Commonwealth of Pennsylvania. Its principal place of business is Philadelphia, Pennsylvania.

The Hospital of the University of Pennsylvania is an unincorporated operating division of The

Trustees of the University of Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                              III.   JURISDICTION AND VENUE

8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants

conduct authorized business in the Commonwealth of Pennsylvania. They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

This suit arises out of Defendants' forum-related activities, such that the Court of Common Pleas

of Philadelphia County's exercise ofjurisdiction would be consistent with traditional notions of

fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia

County, which is also the county where Plaintiffs causes of action arose, and the county where

the occurrences took place out of which Plaintiff's causes of action arose.




                                                6                                      Case ID: 220400127
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10.     This action is not subject to the Compulsory Arbitration Program ofthe Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of$50,000.

                              IV.    FACTUAL ALLEGATIONS

                                      S.C.'s NECDiagnosis

1 1.    S.C. was born prematurely at the Hospital of the University of Pennsylvania in

Philadelphia, Pennsylvania on July 15, 2007.

12.     Upon information and belief S.C. was fed Similac and/or Enfamil cow's milk-based

products by staff at the Hospital of the University of Pennsylvania from shortly after his birth.

13.     Upon information and belief shortly after S.C. first ingested the Defendant Manufacturers'

products, he developed NEC.

14.     S.C. was forced to undergo surgery and has continued to suffer long term health effects.

                Cow's Milk-Based Feeding Products Are Known to Cause NEC

15.     NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

16.     Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that cow's milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.




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17.     For example, in one randomized, multicenter study of926 preterm infants, NEC was six to

ten times more common in exclusively cow's milk formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who received a combination of formula

and breast milk. For babies born at more than 30 weeks gestation, NEC was 20 times more

common in those only fed cow's milk formula than in those fed breast milk.

18.     Another randomized controlled trial showed that preterm babies fed an exclusive breast

milk-based diet were 90% less likely to develop surgical NEC (NEC that requires surgical

treatment), compared to preterm babies fed a diet that included some cow's milk-based products.

19.     Yet another study that analyzed the data from a 12-center randomized trial concluded that

fortification of breast milk with a cow's milk-based fortifier resulted in a 4.2-fold increased risk

of NEC and a 5.1-fold increased risk of surgical NEC or death, compared to fortification with a

breast milk-based fortifier.

20.     A Surgeon General report, The Surgeon General's Call to Action to Support Breastfeeding,

warns that, "for vulnerable premature infants, formula feeding is associated with higher rates of

necrotizing enterocolitis." The report also states that premature infants who are not breastfed are

138% more likely to develop NEC.

21.     The American Academy ofPediatrics,"an organization of67,000 pediatricians committed

to the optimal physical, mental, and social health and well-being for all infants, children,

adolescents, and young adults," has advised that all premature infants should be fed either their

mother's milk or, if their mother's milk is unavailable, pasteurized human donor milk. This

recommendation is based on the "potent benefits of human milk," including "lower rates of. . .

NEC."




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22.     A multicenter, randomized, controlled trial found that premature and low-birth-weight

infants fed an exclusive breast milk-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow's milk-based formula suffered NEC 21% of the time.

23.     Another study conducted a randomized comparison ofextremely preterm infants who were

given either (a) a diet of breast milk fortified with a breast milk-based fortifier or (b) a diet

containing variable amounts of cow's milk-based products. The babies given exclusively breast

milk products suffered NEC 5% of the time. The babies given cow's milk products suffered NEC

17% of the time.

        Safer, Nutritionally Superior Alternatives To Cow's Milk-Based Products Exist

24.     A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition. For example, in addition to the mother's own milk, an

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

25.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

associated with cow's milk-based products. For example, in a study analyzing preterm infants

who were fed an exclusive breast milk-based diet until they reached 34 weeks, all 104 infants

exceeded standard growth targets and met length and head-circumference growth targets,

demonstrating that infants can achieve and mostly exceed targeted growth standards when

receiving an exclusive breast milk-based diet. This is particularly true given the ability of breast

milk-based fortifiers to provide the additional nutritional supplements necessary for adequate

growth while receiving the protective benefits of a breast milk diet.




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26.     The Defendant Manufacturers' products not only pose a threat to infants' health, but also

displace the breast milk they could otherwise receive. This displacement only increases infants'

vulnerability to NEC, as studies show that breast milk protects against the disease. For example,

a study analyzing 1,587 infants across multiple institutions concluded that an exclusive breast

milk-based diet is associated with significant benefits for extremely premature infants and that it

produced no feeding-related adverse outcomes.

27.     For the above reasons, experts acknowledge that breast milk is the best source of nutrition

for preterm infants and those at risk for NEC. Breast milk-based nutrition nourishes infants while

creating a significantly lower risk of NEC.

28.     At the time the Injured Infant was fed the Defendant Manufacturers' products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the

likelihood that a baby will develop NEC,leading to severe injury and often death.

29.     Despite the scientific consensus that the Defendant Manufacturers' cow's milk-based

products present a dire threat to the health and development of preterm infants, the Defendant

Manufacturers have made no changes to their products or the products' packaging, guidelines,

instructions, or warnings. Instead, they have continued to sell their unreasonably dangerous

products. In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge.


                The Defendant Manufacturers'False And Misleading Marketing
                        Regarding Cow's Milk-Based Infant Products

30.     Abbott and Mead have aggressively marketed their cow's milk-based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the

Injured Infant's birth.


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 31.    Abbott's and Mead's marketing approach includes targeting the parents of preterm infants

 while they are still in the hospital with messages that the Defendant Manufacturers' cow's milk

formulas and fortifiers are necessary for the growth and development of their vulnerable children.

 Often these tactics implicitly discourage mothers from breastfeeding, which reduces the mother's

supply of breast milk. None ofthe Defendant Manufacturers' marketing materials, including their

 promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

32.     Numerous studies have shown the detrimental impact of formula advertising on the rates

 of initiation and continuation of breastfeeding, including studies that show that as "hand feeding"

(non-breastfeeding) advertisements increase, reported breastfeeding rates decrease in the

following year.

33.     Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

 with other formula manufacturers, are willing to spend massive sums to disseminate their message,

 with one study estimating that formula manufacturers collectively spent $4.48 billion on marketing

and promotion in 2014 alone.

34.     Recognizing the abuse and dangers of infant formula marketing, in 1981,the World Health

Assembly—the decision-making body of the World Health Organization—developed the

International Code of Marketing of Breast-milk Substitutes ("the Code"), which required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.




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35.     While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, the Defendant Manufacturers' aggressive marketing exploits new parents' darkest fears—

that the nutrition they are supplying to their child will not provide the best chance of survival—

while wholly failing to warn that their products come with a significantly increased risk of NEC.

36.    For example, Abbott's website, on a paged titled "Infant Formula Marketing," states:"We

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recognize that for infants who aren't

breastfed—for medical reasons or otherwise—infant formula is the only appropriate, safe

alternative to meet babies' nutritional needs." This statement ignores the existence of donor milk,

as well as human milk-based formula.

37.    Abbott markets and sells multiple products specifically targeting preterm and low-birth-

weight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasizes the products'

purported ability to assist underdeveloped babies in reaching their growth targets. For example,

on the since-edited webpage regarding Similac NeoSure, Abbott noted: "Your premature baby

didn't get her full 9 months in the womb,so her body is working hard to catch up. During her first

full year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help support her development." Yet, no mention was made ofthe accompanying

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.




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38.     Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-edited webpage for Enfamil Enfacare stated: "Premature

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

of full term, breastfed infants" and noted that Enfamil formulas include "expert-recommended

levels ofDHA and ARA (important fatty acids found naturally in breast milk)to support brain and

eye development."

39.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is

entirely focused on favorably comparing Enfamil's formula to breast milk, without any mention

of the product's extreme risks. Indeed, the terms "human milk" and "breast milk" are used 13

times in the advertisement, including in such statements as "for decades human milk has inspired

the advancements in Enfamil formulas and now through extensive global research, we are taking

an even closer look at human milk" and "only Enfamil NeuroPro has a fat blend of MFGM and

DHA previously found only in breast milk." The webpage for the product has made similar

manipulative claims, stating "Enfamil is backed by decades of breast milk research and multiple

clinical studies" and it claims that "to create our best formulas, we collaborated on some of the

most extensive breast milk studies to date[.]"




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40.    Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,

and even entire gift baskets to parents before their infants' discharge from the NICU or hospital.

41.    Through this early targeting, the Defendant Manufacturers create brand loyalty under the

guise of a "medical blessing," in hopes that new parents continue to use formula after they leave

the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant Manufacturers' giveaways and

gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

42.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product

called "Similac Human Milk Fortifier," and Mead developed "Enfamil Human Milk Fortifier."

These names are misleading in that they suggest that the products are derived from breast milk,

when, in fact, they are cow's milk-based products. One study, for example, found that only 8.8

percent of parents surveyed in the NICU interpreted "human milk fortifier" as potentially meaning

a cow's milk-based product. The packaging appears as:




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43.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that:(1) cow's milk-based products are safe, including for preterm

infants;(2) cow's milk-based products are equal, or even superior, substitutes to breast milk;(3)

cow's milk-based products are necessary for proper growth and development of preterm infants;

and(4) physicians consider the Defendant Manufacturers' cow's milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

ofthe extreme risk of NEC and death that cow's milk-based products pose to preterm infants like

the Injured Infant.




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                      The Defendant Manufacturers'Inadequate Warnings

44.     Although Mead promotes an aggressive marketing campaign designed to convince parents

that its cow's milk-based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.

45.     The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

46.     Despite knowing of the risk of NEC,the packaging of Mead's products does not warn of

the significantly increased risk ofNEC(and resulting medical conditions, and/or death) associated

with Mead's products, or of the magnitude of this increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.

47.     Mead cites no medical literature or research to guide the use of its products.

48.     Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

49.     Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

50.    Despite knowing that its products were being fed to premature infants, often without the

parents' informed consent, Mead failed to require or recommend that medical professionals inform

parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies.




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51.     Like Mead, Abbott promotes an aggressive marketing campaign designed to make parents

believe that its products are safe and necessary for the growth of premature infants, despite the

products in fact being extremely dangerous for premature infants. Abbott's products significantly

increase the chances of a premature infant getting potentially fatal NEC.

52.     The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

53.     Despite knowing of the risk of NEC,Abbott did not warn ofthe significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

54.     Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

55.    Despite knowing that its products were being fed to premature infants, often without the

parents' informed consent, Abbott failed to require or recommend that medical professionals

inform parents of the significant risk of NEC or to require that parental consent be obtained prior

to the products being fed to their babies.

                             Penn Medicine and HUP's Failure to Warn

56.    On information and belief, Penn Medicine, which operates the Hospital of the University

of Pennsylvania ("HUP"), was aware of the significantly increased risk of NEC and death

associated with providing Abbott's and Mead's cow's milk-based products to its premature infant

patients. It knew or should have known that feeding these cow's milk-based products can cause

NEC in premature infants who otherwise would not have developed this devastating condition.




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However, instead of warning of those dangers, or supplying breast milk-based feeding products to

preterm infants like the Injured Infant, Penn Medicine has continued to source, distribute, and

supply the Defendant Manufacturers' products in its hospitals without any adequate warning.

57.     To that end,Penn Medicine has participated in studies designed to increase the use ofdonor

milk while, at the same time, reducing formula feeding in neonates.               The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience

"changing hospital systems and influencing policy," and its findings were unequivocal:

        This is what we,know about the science of human milk: it reduces the risk of
        necrotizing enterocolitis, reduces the risk of infection,[and] creates greater enteral
        feed tolerance and more rapid weaning from intravenous nutrition. . . .

Other Penn Medicine research has similarly concluded that "[Numan milk decreases the

incidence and severity of.. . necrotizing enterocolitis(NEC)."

58.     Penn Medicine also purports to adhere to the tenets of the "Baby Friendly Hospital

Initiative," which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.

The "Baby Friendly Hospital Initiative" specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation ofexclusive breast milk diets among new mothers.

Although HUP has maintained its "Baby Friendly" designation for years, it has not eliminated or

restricted the use offormula or fortifier for preterm infants in its hospitals.

59.    Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant Manufacturers' cow's milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:


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         Donor milk is not inexpensive. It costs about $4.25 per ounce, but the return on
         investment is huge. "Preemies given mother's milk get discharged three to four
         days sooner and also have a six to 10 times lower risk of getting a gastrointestinal
         complication called necrotizing enterocolitis," Carpenter said, adding that the
         infection can cost up to $250,000 to treat. The average cost to provide a preemie
         with donor milk: $125.

60.      These statements demonstrate that Penn Medicine knew or should have known of the high

increased risk ofNEC for premature infants posed by the Defendant Manufacturers' products.

61.      Although Penn Medicine knew or should have known of the serious danger of the

Defendant Manufacturers' products, it has continued to purchase, supply, and distribute these

products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

Injured Infant was fed the Defendant Manufacturers' cow's milk-based products at HUP, causing

their injuries. This,occurred even though hospitals across the country, including HUP, warn and

obtain consent from parents before providing other safer forms of nutrition, such as donor breast

milk.

62.      Penn Medicine's failure to warn of the risks posed by the Defendant Manufacturers'

products is entrenched(and compounded)by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

Manufacturers' cow's milk-based products for free or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

with the Defendant Manufacturers' own marketing strategy, which aims to "sell and service"

healthcare professionals and medical staff as a means of converting them into "extra salespersons."




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                                      Safer Alternative Designs

63.       The Defendant Manufacturers' cow's milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead ofcow's milk in their products, which would have produced a safer

product.

64.       Prolacta Bioscience manufactures and sells breast milk-based feeding products,

specifically designed for preterm infants, which contain no cow's milk. This alternative design

provides all the necessary nutrition for growth and development that cow's milk-based products

provide, without the same unreasonably dangerous and deadly effects.

65.       On information and belief, Abbott and Mead were aware ofthe significantly increased risk

of NEC and death associated with their cow's milk-based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued to use cow's milk as the

foundation of their products.

                                CAUSES OF ACTION
                   COUNT 1: STRICT LIABILITY FOR DESIGN DEFECT
                              (Against Abbott and Mead)

66.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

67.       Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

68.       Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.




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69.     Abbott and Mead knew that their products would be used to feed premature infants like the

Injured Infant and knew (or reasonably should have known) that use of their cow's milk-based

products significantly increased the risk of NEC,serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

not merchantable, and had risks that exceeded a reasonable buyer's expectations. Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

70.     The Injured Infant ingested Abbott and/or Mead's unreasonably dangerous cow's milk-

based products. The risks of feeding those products to the Injured Infan outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

71.     Abbott and Mead knew (or reasonably should have known)that breast milk-based nutrition

did not carry the same risks of NEC,serious injury, and death that their products do.

72.     Abbott's and Mead's products contained cow's milk at the time they left the manufacturing

facility.

73.     Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC,serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

74.     Abbott's and/or Mead's products were fed to the Injured Infant, which caused or increased

the risk of developing NEC and injuries.

75.     As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.




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WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

              a. For compensatory damages in an amount to be proven at trial and in excess of

                 $50,000 and this Court's arbitrational limit;

              b. For damages for past, present, and future emotional distress, loss of enjoyment of

                 life, pain and suffering, mental anguish, and other non-economic losses sustained

                 as a result of the Defendants Manufacturers' conduct;

              c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended;

              d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

                 resulting from the Defendant Manufacturers' oppressive, fraudulent, and/or

                 malicious conduct, as permitted by law;

             e. For interest as permitted by law;

             f. For attorney's fees, expenses, and recoverable costs incurred in connection with

                 this action; and

             g. For such other and further relief as the Court deems proper.

                 COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                              (Against Abbott and Mead)

76.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

77.       Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of




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their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

78.    Abbott's and Mead's duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses. By

designing their products with cow's milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death. The failure to warn makes the

products at issue in this litigation unreasonably dangerous.

79.    Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks of the

infant products at issue in this litigation because they knew or should have known that their cow's

milk-based premature infant products would be fed to premature infants like the Injured Infant,

and that their products might cause the Injured Infant to develop NEC,severe injury, or death, yet

they failed to provide adequate warnings of those risks. Among other risks, the Defendant

Manufacturers:

           a. Failed to warn that cow's milk-based products significantly increase the risk of

               NEC,severe injury, and death for the Injured Infant; and/or

           b. Failed to warn that cow's milk-based products are unsafe and/or contraindicated

              for premature infants like the Injured Infant; and/or

           c. Inserted warnings and instructions on their products that are severely inadequate,

               vague,confusing, and provide a false sense ofsecurity in that they warn and instruct

              specifically on certain conditions, but do not warn of the significantly increased

              risk of NEC and death; and/or




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            d. Failed to insert a large and prominent "black box"-type warning that their cow's

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infants; and/or

            e. Failed to disclose well-researched and well-established studies that linked cow's

               milk-based products to NEC and death in premature infants; and/or

            f. Failed to insert a warning or instruction to healthcare professionals and other

               medical staff in the hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed the

               Defendant Manufacturers' products, notwithstanding their substantial risks; and/or

            g. Failed to provide a warning in a method reasonably calculated or expected to reach

               the parents of newborns, like the Plaintiff Parent; and/or

            h. Failed to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow's milk-based products.

80.     Abbott's and Mead's products contained cow's milk at the time they left the manufacturing

facility.

81.     As a direct and proximate result of the inadequacy of the warnings and the pervasive

marketing campaigns suggesting the safety and necessity of the Defendant Manufacturers'

products, the Injured Infant was fed cow's milk-based products, which caused or increased the risk

of developing NEC and injuries.

82.     The unwarned-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

cow's milk-based formula, they would not have fed the Injured Infant those products. Had the




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Plaintiff Parent known of the significant risks of feeding the Injured Infant cow's milk-based

formula, they would not have allowed such products to be fed to the Injured Infant.

83.     As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers' conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from the Defendants Manufacturers' oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.




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                                    COUNT III: NEGLIGENCE
                                    (Against Abbott and Mead)

84.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

85.       Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

86.       At all times relevant to this action, the Injured Infant's healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

87.       Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed, sold, and/or distributed the cow's milk-

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

88.       Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow's milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

             a. Failing to warn that cow's milk-based products significantly increase the risk of

                 NEC,severe injury, and death for the Injured Infant; and/or

             b. Failing to warn that cow's milk-based products are unsafe and/or contraindicated

                 for premature infants like the Injured Infant; and/or




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           c. Inserting warnings and instructions that are severely inadequate, vague, confusing,

               and provide a false sense of security in that they warn and instruct specifically on

               certain conditions, but do not warn of the significantly increased risk of NEC and

               death; and/or

           d. Failing to insert a large and prominent "black box"-type warning that their cow's

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infants; and/or

           e. Failing to provide well-researched and well-established studies that linked cow's

               milk-based products to NEC and death in premature infants; and/or

           f. Failing to insert a warning or instruction to healthcare professionals and other

               medical staff in the hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed the

               Defendant Manufacturers' products, notwithstanding their substantial risks; and/or

           g. Failing to provide a warning in a method reasonably calculated/expected to reach

               the'parents of newborns, like the Plaintiff Parent; and/or

           h. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow's milk-based products.

89.    In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow's milk-based products significantly increased the risk ofNEC,serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.




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90.     As a direct and proximate result of the Defendant Manufacturers' failure to act in a

reasonably prudent manner and their breach of duty, the Injured Infant was fed cow's milk-based

products, which caused or increased the risk of developing NEC and injuries.

91.     Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their unreasonably dangerous cow's milk-based products.

92.     As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers' conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from the Defendants Manufacturers' oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and




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             g.   For such other and further relief as the Court deems proper.

                     COUNT IV: INTENTIONAL MISREPRESENTATION
                               (Against Abbott and Mead)

93.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

94.       At all times relevant to this action, the Injured Infant consumed the Defendant

Manufacturers' products in their intended manner and for their intended purpose.

95.       Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

96.       Abbott and Mead breached their duty through misrepresentations made to consumers,

physicians, and medical staff in their advertising and promotional materials, as described in

previous paragraphs and incorporated herein, each of whom were foreseeable and intended

recipients of this information.

97.       Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

             a. That their cow's milk-based products were safe and beneficial for premature infants

                  when they knew or should have known that their products were unreasonably

                  dangerous and cause NEC, serious injury, and death in premature infants; and/or

             b. That their cow's milk-based products were necessary to the growth and nutrition of

                  premature infants, when they knew or should have known that their products were

                  not necessary to achieve adequate growth; and/or



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             c. That their products have no serious side effects, when they knew or should have

                known the contrary to be true; and/or

             d. That cow's milk-based products were safe for premature infants; and/or

             e. That cow's milk-based products were necessary for optimum growth; and/or

            f. That cow's milk-based products were similar or equivalent to breast milk; and/or

             g. That their products were safe and more like breast milk than other infant products

                and that they had removed the harmful ingredients of cow's milk when,in fact, the

                cow's milk in their products was still capable of causing NEC, serious injury, and

                death; and/or

            h.. That their products were based on up-to-date science, which made them safe for

                premature infants; and/or

            i. Omitting the material fact that their products significantly increased the risk ofNEC

                in premature infants.

98.      Abbott and Mead knew or reasonably should have known those misrepresentations to be

false.

99.      The Defendant Manufacturers' misrepresentations were intended to, and in fact did, induce

physicians and medical staff, including the Injured Infant's physicians and medical staff, to provide

their infant products to babies, including the Injured Infant.

100.     The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant Manufacturers' misrepresentations induced the Plaintiff Parent to

allow their child'to be fed Abbott's and Mead's infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

Manufacturers' messaging.         Had Abbott and Mead not committed these intentional




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misrepresentations, the Injured Infant would not have been exposed to the Defendant

Manufacturers' unreasonably dangerous cow's milk-based products.

101.    As a direct and proximate result, Abbott's and Mead's products were fed to the Injured

Infant, which caused or increased the risk of developing NEC and injuries.

102.    As a further direct result, the Plaintiff Parent has suffered significant emotional distress,

loss ofincome, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers' conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from the Defendant Manufacturers' oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.




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                     COUNT V: NEGLIGENT MISREPRESENTATIONS
                              (Against Abbott and Mead)

103.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

104.      At all times relevant to this action, the Injured Infant consumed the products at issue in

their intended manner and for their intended purpose.

105.      Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

106.      In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, physicians, and medical staff in their advertising and

promotional materials, as described in previous paragraphs and incorporated herein, each of whom

were foreseeable recipients of this information.

107.      Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

             a. That their cow's milk-based products were safe and beneficial for premature infants

                 when they knew or should have known that their products were unreasonably

                 dangerous and cause NEC,serious injury, and death in premature infants; and/or

             b. That their cow's milk-based products were necessary to the growth and nutrition of

                 premature infants, when they knew or should have known that their products were

                 not necessary to achieve adequate growth; and/or




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            c. That their products have no serious side effects, when they knew or should have

                known the contrary to be true; and/or

            d. That cow's milk-based products were safe for premature infants; and/or

            e. That cow's milk-based products were necessary for optimum growth; and/or

            f. That cow's milk-based products were similar or equivalent to breast milk; and/or

            g. That their products were safe and more like breast milk than other infant products

                and that they had removed the harmful ingredients of cow's milk when,in fact, the

                cow's milk in their products was still capable of causing NEC, serious injury, and

                death; and/or

            h. That their products were based on up-to-date science, which made them safe for

                premature infants; and/or

            i. Omitting the material fact that their products significantly increased the risk ofNEC

                in premature infants.

108.     Abbott and Mead were negligent or careless in not determining those representations to be

false.

109.     The Defendant Manufacturers' misrepresentations were intended to and did in fact induce

physicians and medical staff, including the Injured Infant's physicians and medical staff, to provide

their products to babies, including the Injured Infant.

1 10.    The Defendant Manufacturers' misrepresentations induced, and were intended to induce,

the Plaintiff Parent to allow their child to be fed Abbott's and Mead's infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

the Defendant Manufacturers' messaging. Had Abbott and Mead not committed these negligent




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misrepresentations, the Injured Infant would not have been exposed to their unreasonably

dangerous cow's milk-based products.

1 11.    As a direct and proximate result, Abbott's and Mead's products were fed to the Injured

Infant, causing their NEC and subsequent injuries.

1 12.    As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained

                as a result of the Defendants Manufacturers' conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

                resulting from the Defendant Manufacturers' oppressive, fraudulent, and/or

                malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney's fees, expenses, and recoverable costs incurred in connection with

                this action; and

            g. For such other and further relief as the Court deems proper.




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                  COUNT VI: NEGLIGENT FAILURE TO WARN
  (Against Penn Medicine and The Hospital of the University of Pennsylvania("HUP"))

1 13.     Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

1 14.     Penn Medicine and HUP, as purchaser, supplier, and/or distributor of the products at issue

in this litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in

particular, to purchase, supply, and distribute products that were free of unreasonable risk of harm

when used in their intended manner and for their intended purpose, and/or to formulate, adopt, and

enforce adequate rules and policies for the same.

1 15.     At all times relevant to this action, the Injured Infant used the cow's milk-based products

purchased, supplied, and/or distributed by Penn Medicine and HUP in their intended manner and

for their intended purpose.

1 16.     Penn Medicine and HUP employed or contracted with the healthcare professionals and

medical staff at HILT, managing these individuals during their treatment of the Injured Infant.

1 17.     Penn Medicine and HUP negligently supplied and distributed the Defendant

Manufacturers' milk-based infant feeding products to these healthcare professionals and medical

staff for use on premature infants, including the Injured Infant.

1 18.     Moreover, at all relevant times, Penn Medicine and HUP knowingly authorized the

Defendant Manufacturers' sales representatives to market, advertise, distribute, and/or sell their

products at HUP. The Defendant Manufacturers' sales representatives were encouraged to interact

with HUP's healthcare professionals and medical staff. These interactions provided the Defendant

Manufacturers' sales representatives an opportunity to co-opt HUP's healthcare professionals and

medical staff into assisting with the marketing, distribution, and/or sale of the Defendant

Manufacturers' unreasonably dangerous products to consumers, such as the Plaintiff Parent.



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119.    Penn Medicine and HUP also knowingly allowed the Defendant Manufacturers' sales

representatives to routinely misrepresent the risks and benefits of Defendants' products to HTJP's

healthcare professionals and medical staff, including the misrepresentation that premature babies

would not grow adequately with human milk and human milk products and that use of donor milk

was not advised for premature infants.

120.    Penn Medicine and HUP knew or reasonably should have known at the time that they

acquired, distributed, and supplied the Defendant Manufacturers' cow's milk-based infant

products that these products significantly increased the risk of NEC,serious injury, and death.

121.    Nonetheless, Penn Medicine and HUP acted negligently, recklessly and breached its duty

by:

           a. Failing to warn that cow's milk-based products significantly increase the risk of

               NEC,severe injury, and death in those babies; and/or

           b. Failing to warn that cow's milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or

                                     . ct its healthcare professionals and medical staff on the
           c. Failing to warn or instru

               information that should be provided to parents in order to make an informed choice

               about whether to allow their babies to be fed the Defendant Manufacturers'

               products, notwithstanding their substantial risk; and/or

           d. Failing to provide its healthcare professionals and medical staff with the well-

              researched and well-established studies that link cow's milk-based products to NEC

               and death in premature infants; and/or

           e. Failing to provide a warning in a method reasonably calculated/expected to reach

              the parents of newborns; and/or




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           f. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow's milk-based products; and/or

           g. Failing to prevent the Defendant Manufacturers' sales representatives from

               misrepresenting to HUP's healthcare professionals and medical staff that premature

               babies would not grow adequately with human milk and human milk products and

               that use of donor milk was not advised for premature infants.

122.    Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff—as well as

patients—on the safe use of the Defendant Manufacturers' products, and would have restricted the

ability of the Defendant Manufacturers' sales representatives to market the Defendant

Manufacturers' unreasonably dangerous products without adequate warning.

123.    Penn Medicine and HUP knew or reasonably should have known that its medical

professionals and the parents of premature infants, including the Plaintiff Parent, would not have

realized the risks associated with feeding cow's milk-based formula to premature infants.

124.    Had Penn Medicine and HUP exercised reasonable care by satisfying its duty to warn its

medical providers and patients about the Defendant Manufacturers' unreasonably dangerous

products, the Injured Infant would not have been exposed to the Defendant Manufacturers' cow's

milk-based products.

125.    As a direct and proximate result of Penn Medicine and HUP's failure to warn of the danger

posed by the Defendant Manufacturers' unreasonably dangerous cow's milk-based products, the

Injured Infant was fed the Defendant Manufacturers' cow's milk-based products, which caused

and/or increased the risk of developing NEC and significant injuries.




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126.    As a further direct and proximate result of Penn Medicine and HUP's negligent failure to

warn of the Defendant Manufacturers' unreasonably dangerous products, the Plaintiff Parent

suffered significant emotional distress, loss ofincome, and/or other harms. Her life has been

significantly affected by the Injured Infant's injuries.


WHEREFORE,Plaintiff demands judgment against Penn Medicine and HUP as follows:

           a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

           b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine's conduct;

           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from Penn Medicine's oppressive, fraudulent, and/or malicious conduct,

               as permitted by law;

           e: For interest as permitted by law;

           f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.




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     COUNT VII: NEGLIGENT CORPORATE LIABILITY OF HEALTH-CARE
                                   PROVIDER
 (Against Penn Medicine and The Hospital of the University of Pennsylvania("HUP"))

127.      Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

128.      At all relevant times, Penn Medicine and HUP owed a duty of care to the Injured Infant to

ensure their safety and well-being while the Injured Infant was under the care of HUP staff.

Specifically, Penn Medicine and HUP had a duty to the Injured Infant to formulate, adopt, and

enforce adequate rules and policies to ensure quality care for the Injured Infant. Further, Penn

Medicine owed a duty to the Injured Infant to oversee its healthcare professionals and medical

staff that provided patient care to the Injured Infant.

129.      Penn Medicine and HUP owed a duty to its patients, and the Injured Infant in particular, to

formulate, adopt, and enforce adequate rules and policies for the purchase, supply, distribution,

and use of products that were free ofunreasonable risk of harm when used in their intended manner

and for their intended purpose and ensured quality care for the Injured Infant.

130.      At all times relevant to this action, the Injured Infant used the cow's milk-based products

purchased, supplied, and/or distributed by Penn Medicine and HUP in their intended manner and

for their intended purpose.

131.      Moreover, at all relevant times, Penn Medicine and HUP knowingly authorized the

Defendant Manufacturers' sales representatives to market, advertise, distribute, and/or sell their

products at HUP. The Defendant Manufacturers' sales representatives were encouraged to interact

with HUP's healthcare professionals and medical staff. These interactions provided the Defendant

Manufacturers' sales representatives an opportunity to co-opt HUP's healthcare professionals and




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medical staff into assisting with the marketing, distribution, and/or sale of the Defendant

Manufacturers' unreasonably dangerous products.

132.    Penn Medicine and HUP also knowingly allowed the Defendant Manufacturers' sales

representatives to routinely misrepresent the risks and benefits of Defendants' products to HUP's

healthcare professionals and medical staff, including the misrepresentation that premature babies

would not grow adequately with human milk and human milk products and that use of donor milk

was not advised for premature infants.

133.    Penn Medicine and 1-[UP knew or reasonably should have known at the time that it

formulated, adopted, and enforced its rules for the acquisition, distribution, and supply of the

Defendant Manufacturers' cow's milk-based infant products, including the access afforded the

Defendant Manufacturer's sales representatives, that these products significantly increased the risk

of NEC,serious injury, and death for premature infants.

134.    Penn Medicine and HUP knew or reasonably should have known that its medical

professionals and the parents of premature infants, including the Plaintiff Parent, would not have

realized the risks associated with feeding cow's milk-based formula to premature infants.

135.    Nonetheless, Penn Medicine and HUP acted negligently, recklessly and breached its duty

by:

           a. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               restricted the use of cow's milk-based products for feeding premature babies;

               and/or

           b. Failing to formulate, adopt, and enforce adequate rules and policies that warned the

               Plaintiff Parent that cow's milk-based products significantly increase the risk of

               NEC,severe injury, and death in premature babies, like the Injured Infant; and/or




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    c. Failing to formulate, adopt, and enforce adequate rules and policies that warned its

        healthcare professionals and medical staff that cow's milk-based products are

        unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

    d. Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

        healthcare professionals and medical staff on the information that should be

        provided to parents in order to make an informed choice about whether to allow

       their babies to be fed the Defendant Manufacturers' products, notwithstanding their

       substantial risk; and/or

    e. Failing to formulate, adopt, and enforce adequate rules and policies to provide its

        healthcare professionals and medical staff with the well-researched and well-

       established studies that link cow's milk-based products to NEC and death in

       premature infants; and/or

    f. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a

       warning in a method reasonably calculated/expected to reach the parents of

       newborns, like the Plaintiff Parent; and/or

    g. Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

       Defendant Manufacturers' sales representative from misrepresenting to HUP's

       healthcare professionals and medical staff that premature babies would not grow

       adequately with human milk and human milk products and that use of donor milk

       was not advised for premature infants; and/or

    h. Failing to establish a donor milk program that was sufficient to meet the needs of

       the premature babies, like the Injured Infant.




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136.    A reasonable hospital under the same or similar circumstances would have formulated,

adopted, and enforced adequate policies, and rules to restrict the feeding of cow's milk-based

products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants Manufacturers' cow's

milk-based products, and restricting the marketing of the Defendant Manufacturers' unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.

137.    Had Penn Medicine and HTJP exercised reasonable care by satisfying its duty to formulate,

adopt, and enforce adequate rules and policies to ensure the quality care of its patients, the Injured

Infant would not have been exposed to the Defendant Manufacturers' cow's milk-based products.

138.    As a direct and proximate result of Penn Medicine and HUP failure to formulate and

enforce adequate policies and rules related to the danger posed by the Defendant Manufacturers'

unreasonably dangerous cow's milk-based products, the Injured Infant was fed the Defendant

Manufacturers' cow's milk-based products, which caused and/or increased the risk of developing

NEC and significant injuries.

139.    As a further direct and proximate result of Penn Medicine and HUP negligence, the

Plaintiff Parent suffered significant emotional distress, loss of income, and/or other harms. Her

life has been significantly affected by the Injured Infant's injuries.

140.    In the alternative, Penn Medicine and HUP owed a duty to its patients, and the Injured

Infant in particular, to oversee the practicing healthcare professionals and medical staff that

provided the products at issue to infants under Penn Medicine and HUP's care, including the

Injured Infant.




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141.    Penn Medicine and HUP employed or contracted with the healthcare professionals and

medical staff at HUP and was responsible for overseeing those individuals during their treatment

ofthe Injured Infant.

142.    Nonetheless, Penn Medicine and HUP acted negligently, recklessly and breached its duty

by:

           a. Failing to oversee its healthcare professionals and medical staff on their use of

               cow's milk-based products for feeding premature babies; and/or

           b. Failing to warn or instruct its healthcare professionals and medical staff that cow's

               Milk-based products significantly increase the risk ofNEC,severe injury, and death

               in those babies; and/or

           c. Failing to warn or instruct its healthcare professionals and medical staff that cow's

               milk-based products are unsafe and/or contraindicated for premature babies like the

              Injured Infant; and/or

           d. Failing to oversee its healthcare professionals and medical staff to restrict their

              feeding of cow's milk-based products to premature babies; and/or

           e. Failing to warn or instruct its healthcare professionals and medical staff on the

              information that should be provided to parents in order to make an informed choice

              about whether to allow their babies to be fed the Defendant Manufacturers'

              products, notwithstanding their substantial risk; and/or

           f. Failing to provide its healthcare professionals and medical staff with the well-

              researched and well-established studies that link cow's milk-based products to NEC

              and death in premature infants; and/or




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                                                                                                       (




           g.   Failing to provide its healthcare professionals and medical staff with warnings

                about the dangers of the Defendants' Manufacturers products in a method

                reasonably calculated/expected to reach the parents of newborns; and/or

           h. Failing to provide statistical evidence to its healthcare professionals and medical

                staff showing the magnitude of increased risk of NEC in premature infants

                associated with cow's milk-based products; and/or

           i. Failing to oversee its healthcare professionals and medical staff to ensure that the

                Defendant Manufacturers' sales representatives' misrepresentations that premature

                babies would not grow adequately with human milk and human milk products and

                that use of donor milk was not advised for premature infants had not influenced the

                use and/or misuse of the Defendant Manufacturers' products.

143.    A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of

the Defendant Manufacturers' products, and would have restricted the ability of the Defendant

Manufacturers' sales representatives to market the Defendant Manufacturers' unreasonably

dangerous products without adequate warning.

144.    A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staffto ensure that they received proper training

and updating on the risks associated with feeding cow's milk-based formula to premature infants.

145.    Had Penn Medicine and HIM exercised reasonable care by satisfying its duty to oversee

its healthcare professionals and medical staff who provide patient care, the Injured Infant would

not have been exposed to the Defendant Manufacturers' cow's milk-based products.




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146.    As a direct and proximate result of Penn Medicine and HUP's failure to oversee its

healthcare professionals and medical staff on the danger posed by the Defendant Manufacturers'

unreasonably dangerous cow's milk-based products, the Injured Infant was fed the Defendant

Manufacturers' cow's milk-based products, which caused and/or increased the risk of developing

NEC and significant injuries.

147.    As a further direct and proximate result of Penn Medicine and HIJP's negligence, the

Plaintiff Parent suffered significant emotional distress, loss of income, and/or other harms. Her

life has been significantly affected by the Injured Infant's injuries.

WHEREFORE,Plaintiff demands judgment against Penn Medicine and HUP as follows:

           a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

           b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine's conduct;

           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from Penn Medicine's oppressive, fraudulent, and/or malicious conduct,

               as permitted by law;

           e. For interest as permitted by law;

           f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and




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            g. For such other and further relief as the Court deems proper.


                                  DEMAND FOR JURY TRIAL

148.    Plaintiff hereby demands a jury trial for all claims triable.

Dated: April 4, 2022
                                                       Respectfully submitted,

                                                      ANAPOL WEISS




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                                                       Philadelphia, PA 19103
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                                                       Alex Walsh (pro hac viceforthcoming)
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                                                               Attorneysfor Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2022, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

counsel of record or parties registered to receive CM/ECF Electronic Filings.




                                            Tracy Finken




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                    Case
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                                        COURT OF COMMON PLEAS
         Janee Henderson                   PHILADELPHIA COUNTY
                                PLAINTIFF,
                  V.

          mead Johnson & Company, LLC, et al.                  CIVIL DIVISION

                                DEFENDANT.                     JURY TRIAL DEMANDED
                                                  VERIFICATION
                    J anee Henderson
                                       , hereby verify that I am the plaintiff in the foregoing action; that the

          attached Complaint in Civil Action is based upon information which I have furnished to counsel,

          and information which has been gathered by counsel in the preparation of the lawsuit. The

          language of the Complaint is that of counsel and not mine. I have read the Complaint, and to the

          extent the statements therein are based upon information I have given counsel, they are true and

          correct to the best of my knowledge, information and belief. To the extent the contents of the

          Complaint are that of counsel, I have relied upon counsel in making this Verification. I understand

          that if false statements were made herein, I would be subject to the penalties of 18 Pa. C.S.A.

          §4904 relating to unsworn falsification to authorities. I am authorizing my counsel to file this

          Complaint based on my representation agreement with them.

                                                                    DocuSigned by:



                                                       By:      C  -130E544 +er71003




          DATE:
                  3/23/2022




                                                                                                      Case ID: 220400127
